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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                                   §
 BURAK POWERS,
                                                   §
                                                   §
        Plaintiff,
                                                   §
                                                   §   CIVIL ACTION NO. 4:21-cv-01334
 V.
                                                   §
                                                   §
 BROKEN HILL PROPRIETARY (USA),
                                                   §
 INC.,
                                                   §
                                                   §
        Defendant.

   POWERS’ MOTION TO STRIKE PARAGRAPHS 19, 20, 22, 23, 26, 28, AND 29 OF
                   MARIUS KOTZE’S DECLARATION

       Powers files his Motion to Strike Paragraphs 19, 20, 22, 23, 26, 28, and 29 of Marius

Kotze’s Declaration, showing as follows.

       On May 19, 2022, BHP filed its motion for summary judgment in this Title VII sex

discrimination, retaliation, and breach of contract case (Doc. No. 32). BHP relied on a declaration

from its Head of Human Resources, Marius Kotze (Doc. 32-1 at pages 2-5 of 147). Because

paragraphs 19, 20, 22, 23, 26, 28, and 29 of Kotze’s Declaration were not shown to be based on

his personal knowledge, they should be stricken.

       Powers’ Title VII claims in this case involve, among other things, the denial of four

different job openings at BHP that he applied for. In all four cases, the jobs were given to females.

In at least two of those four cases, Niall McCormack, BHP’s former Vice President of Exploration,

and Todd Lee, BHP’s former Vice President of Transformation, were decisionmakers. See Doc.

32-2 at ¶¶ 18, 24. Neither McCormack nor Lee are currently employed by BHP. And, neither

McCormack nor Lee gave sworn declarations or affidavits in support of BHP’s motion for

summary judgment.
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       Instead, BHP offered up Kotze’s Declaration. In Kotze’s Declaration, he testified in

paragraphs 19, 20, 22, 23, 26, 28, and 29 about why McCormack and Lee supposedly made the

decisions not to select Powers for the two openings for which they were decisionmakers. Kotze

failed to explain how it is that he alleged had, or would have, any personal knowledge of what

McCormack and Lee were thinking when they made the decisions not to select Powers for those

two openings. Nevertheless, Kotze testified in conclusory and self-serving fashion that both

McCormack and Lee acted without any unlawful discriminatory intent.

       “An affidavit or declaration used to support or oppose a motion must be made on personal

knowledge, set out facts that would be admissible in evidence, and show that the affiant or

declarant is competent to testify on the matters stated.” Love v. Nat’l Medical Enters., 230 F.3d

765, 776 (5th Cir. 2000). Paragraphs 19, 20, 22, 23, 26, 28, and 29 of Kotze’s Declaration facially

flunk this test, and thus should be stricken from the record. See, e.g., Wojciechowski v. Nat’l

Oilwell Varco, L.P., 763 F.Supp.2d 832, 846 (S.D. Tex. 2011) (striking sections of affidavit

submitted in summary judgment proceeding because affiant failed to demonstrate they were made

based on personal knowledge).

       Finally, one note: BHP also provided an internal Investigation Report with its motion for

summary judgment that purports to include unsworn statements that McCormack and Lee made to

an internal BHP investigator named Sara Summerbell (who is also no longer employed by BHP)

concerning one of the two positions at issue in this case for which they were decisionmakers. See

Doc. 32-1 at pages 90-103 of 147. To the extent BHP attempts to rely on this Investigation Report

to prove what McCormack and Lee allegedly told Summerbell about why they decided not to

select Powers for that position, that should be stricken as inadmissible hearsay (and hearsay within

hearsay) under Federal Rule of Evidence 801. See, e.g., Bedford Internet Office Space, LLC v.




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Travelers Cas. Ins. Co., 41 F. Supp. 3d 535, 544 (N.D. Tex. 2014) (concluding that “‘witness

statements [in a police report] offered to prove the truth of the matter asserted are ‘hearsay within

hearsay’ and are inadmissible unless each level of hearsay qualifies under one of the hearsay

exceptions.’”).

                                                          Respectfully submitted,

                                                          OBERTI SULLIVAN LLP

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                           CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred in good faith with opposing counsel concerning this
motion, and opposing counsel opposes this motion as stated herein.

                                         s/ Mark J. Oberti
                                         Mark J. Oberti




                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served upon
the counsel of record listed below via ECF service on the 7th day of June 2022.

       Shauna Johnson Clark
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                                         s/ Mark J. Oberti
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